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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ELLUSIONIST CASH BALANCE PLAN                      Case No. 23-cv-00287-AMO
                                         AND TRUST, et al.,
                                   8                    Plaintiffs,                         ORDER STRIKING STATEMENT
                                   9                                                        CHART, TERMINATING MOTION
                                                 v.                                         FOR LEAVE TO FILE OBJECTION
                                  10
                                         SPIEGEL ACCOUNTANCY CORP., et al.,                 Re: Dkt. Nos. 63, 64
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          In connection with the pending motion to dismiss, the Court directed Plaintiffs to file a

                                  14   chart listing the statements on which they base their claims and providing additional information

                                  15   that “strictly track[ed] the allegations in the operative complaint.” ECF 62. After Plaintiffs filed

                                  16   the chart, ECF 63, Defendants moved for leave to file an objection, ECF 64.

                                  17          In light of the motion for leave to file an objection, the Court STRIKES the current version

                                  18   of Plaintiffs’ chart, ECF 63, TERMINATES the motion for leave to file an objection, and

                                  19   INSTRUCTS the parties as follows:

                                  20          The parties shall jointly prepare a chart providing the following information. Plaintiffs

                                  21   shall identify (a) each statement alleged to have been false or misleading; (b) the speaker, date,

                                  22   and medium by which the statement was made; (c) the reason(s) the statement was false or

                                  23   misleading when made; and (d) the facts alleged to show that defendant(s) knew the statement

                                  24   false and/or misleading.

                                  25          Plaintiffs must clearly identify, by citation to the operative complaint, which statements or

                                  26   omissions are attributable to which defendants, and for each such defendant, the facts alleged

                                  27   which give rise to a strong inference that the defendant acted with the required state of mind at the

                                  28   relevant time. The chart must strictly track the allegations in the operative complaint and may not
                                            Case 3:23-cv-00287-AMO Document 65 Filed 03/12/24 Page 2 of 2




                                   1   include any new or supplemental information or explanation.

                                   2           Defendants shall identify the ground(s) on which they attack each statement, with citations

                                   3   to the corresponding briefing. The chart shall be organized in the following format:

                                   4   Statement ¶           The             False or      Reasons        Facts Giving Rise     Basis for
                                       No.                   Speaker(s),     Misleading    Statements     to a Strong           Dismissal
                                   5                         Date(s), and    Statements    Were False     Inference of
                                                             Medium                        or             Scienter
                                   6                                                       Misleading
                                                                                           When
                                   7
                                                                                           Made1
                                   8   1.           ¶ 10     When: [date]    [Direct       [Summarize     [Summarize            [E.g.,
                                                             Where: [e.g.    quotation     arguments      arguments on          Outside
                                   9                         Press           of the        on falsity     scienter with         statute of
                                                             release]        alleged       with           specific              repose. See
                                  10                         Speakers:       false or      specific       references to         Mot. at 8.]
                                  11                         [e.g. CEO]      misleading    references     paragraphs in the
                                                                             statement.]   to             complaint.]
                                  12                                                       paragraphs
Northern District of California




                                                                                           in the
 United States District Court




                                  13                                                       complaint.]
                                  14   Plaintiffs shall file the chart by no later than April 12, 2024 and email a word version to

                                  15   amopo@cand.uscourts.gov immediately after filing.

                                  16           The parties are reminded that the purpose of the chart is to aid the Court’s consideration of

                                  17   the pending motion to dismiss, not to afford the parties an opportunity to evade the page limits for

                                  18   the briefs already on file, to rehash arguments already set forth in the papers, or to introduce

                                  19   material not already in the record. If the parties are unable to comply with the Court’s

                                  20   instructions, the Court may strike the parties’ forthcoming submission in whole or in part.

                                  21           IT IS SO ORDERED.

                                  22   Dated: March 12, 2024

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                                                                                                     ARACELI MARTÍNEZ-OLGUÍN
                                  25                                                                 United States District Judge
                                  26
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                                        “[I]f an allegation regarding the statement or omission is made on information and belief, the
                                  28   complaint shall state with particularity all facts on which that belief is formed.” See 15 U.S.C.
                                       § 78u-4(b)(1)).
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